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P|aintiff,

VS.
CR. NO. 04-20479-B

KEV|N RUDD,

Detendant.

 

OFlDEFt ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 25, 2005. At that time, counsel for the
defendant requested a continuance of the l\/|ay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a report
date of Thursdav, June 23, 2005. at 2:00 p.m., in Courtroom 1, ttth Floor of the
Federal Bui|ding, l\/lemphis, TN.

The period from lVlay 13, 2005 through Ju|y 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ot justice served in allowing for additional time to
prepare outweigh the need for a speedy trial.

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UNITED sTATE DISICT COUR - WESERNT D's'TRCT oFTENNEssEE

 

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This notice confirms a copy of the document docketed as number 24 in
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May 4, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

